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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK oe ALLY FILED
MOUSSA KONATE DATE FILED: _ 10/19/2020
Plaintiff,
-against- 20 Civ. 1411 (AT)
ALLIANCE SECURITY INC., RUSSEL CRUZ, ORDER

THOMAS CRUZ, MALCOLM TERRENCE,
MICHAEL DEGIOVANNI, ANTHONY
QUINEOS, and ISRAEL RIVERA,

 

Defendants.
ANALISA TORRES, District Judge:

 

On September 3, 2020, the Court ordered Plaintiff to file a motion for default judgment
by September 30, 2020, or, in the alternative, for the parties to submit a joint status letter and
proposed case management plan by October 14, 2020. ECF No. 29. Those submissions are now
overdue. Accordingly, by 12:00 p.m. on October 20, 2020, the parties shall submit their joint
status letter and proposed case management plan, or Plaintiff shall file a status letter.

SO ORDERED.

Dated: October 19, 2020
New York, New York

On-

ANALISA TORRES
United States District Judge
